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                              UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF TEXAS

                                    SHERMAN DIVISION




The State of Texas, et. al.                   Case No: 4:20-cv-00957

Plaintiff,



v.



Google LLC,

Defendant.




                              Expert Report of Matthew Weinberg



                                          6/7/2024



                          ____________________________________

                                     Matthew Weinberg
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 in conducting my work and forming my opinions in this case. I reserve the right to supplement or
 amend this report if my opinions change or require supplementation as a result of my ongoing
 review of documents.

          D.       Summary of Opinions

 11.      I have analyzed each of the conducts undertaken by Google and assessed how they
 change the auction procedure and how these changes affect the auction outcomes.

 12.      I conclude that:2

               a. Google’s implementation of Dynamic Allocation led to higher win rate and higher
                   revenue for AdX3 as well as lower win rate and lower revenue for non-Google
                   exchanges. Furthermore, Enhanced Dynamic Allocation led to an increase in win
                   rate and increase in revenue for AdX and reduced the value of direct deals for
                   advertisers. Reducing the value of direct deals for advertisers would decrease the
                   revenue earned by publishers via direct deals.

               b. Header bidding improves publisher outcomes relative to the waterfall approach
                   (with or without Dynamic Allocation and Enhanced Dynamic Allocation) and it can
                   generate higher revenue for publishers compared to Exchange Bidding.

               c. Unified Pricing Rules likely lead to lower revenue for the publishers. It also can
                   lead to better win rate and revenue for Google’s ad exchange AdX as well as
                   Google’s ad buying tools and lower the win rate and revenue for rival exchanges
                   and ad buying tools.

               d. Under the Dynamic Revenue Sharing (DRS) conduct,

                        i. Dynamic Revenue Sharing version 1 (DRSv1) increased AdX win rate and
                            revenue and decreased non-AdX exchanges’ win rates and revenues,
                            compared to no DRS,




 2 These conclusions discuss the isolated impacts of the conducts, and throughout the report I also provide conclusion

 regarding the interactions between the conducts.
 3 AdX is Google’s ad exchange.



                                                           9
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                       ii. Dynamic Revenue Sharing version 2 (DRSv2), in comparison to both no
                           DRS and DRSv1, decreased advertiser payoff, 4 increased AdX win rate
                           and revenue, decreased non-
                           may also have decreased publisher revenue.

                      iii. Truthful Dynamic Revenue Sharing increased AdX win rate and revenue
                           and decreased non-

                      iv. Google concealed information that is vital to advertisers and important to
                           publishers by concealing DRSv1 from them.

              e. Projects Bernanke and Global Bernanke did not affect GDN5 advertisers and could


                   projects also led to a lower win rate for non-GDN ad buying tools and advertisers
                   that used those ad buying tools. Furthermore, Project Bernanke and Global
                   Bernanke led to an increased win rate for GDN buyers (without improving GDN



              f.
                   AdX, and lower payoff to advertisers. It could also lead to lower payoff for some
                   publishers. The negative effects of Reserve Price Optimization to advertiser payoff,
                   and possibly
                   conduct during its initial rollout, and (b) barriers to publishers effectively setting
                   reserve prices to optimize their revenue even after Google announced the conduct.

         E.        Methodology

 13.     Throughout the report, I am going to apply the mathematical principles, results and
 insights that stem from the canonical auction theory and game theory literatures. These methods
 of auction analysis are commonly accepted by researchers and practitioners across many
 different fields such as economics, computer science, and mathematics. Furthermore, these tools
 are commonly accepted by researchers and practitioners for the analysis of the market at hand,
 online display ads.


 4

 amount they pay for the impression.
 5

 Ads.

                                                     10
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                              exceeds r, and so does not need to be increased). In this case, the
                              maximum of r and the highest other bid is the highest other bid, and the
                              payment is the highest other bid.

                         iii. If the highest bid falls below r, then no bids survive, and therefore no one
                              gets the item or pays the auctioneer.

 26.        In a first-price auction, there are two relevant ranges for the reserve: (1) the highest bid
 exceeds the reserve, in which case the auction concludes identically as if there were no reserve
 or (2) the highest bid falls below the reserve, in which case the auction is essentially nullified, and
 the item stays with the seller. In a second
                                      second-price auction, there are three relevant ranges for the
 reserve: (1) the second-highest bid exceeds the reserve, where the auction concludes identically
 as if there were no reserve or (2) the second-highest bid falls below the reserve, but the highest
 bid exceeds the reserve, so the highest bidder still wins, but pays the reserve which is greater
 than the second-highest bid or (3) the highest bid falls below the reserve, so the auction is
 essentially nullified, and the item stays with the seller.

 27.        The leading example can be modified with reserve prices. Imagine that there are five
 bidders, who submit bids of $1, $8, $3, $5, $2, respectively. In a first-price auction with a reserve
 price of $4, Bidder Two wins and pays $8. In a second-price auction with reserve of $4, Bidder
 Two wins and pays $5. That is, both auctions conclude exactly as if there were no reserve,
 because the reserve is smaller than the second-highest bid. If the auctioneer sets a reserve of
 $6, then in a first-price auction, Bidder Two wins and pays $8. The first-price auction concludes
 exactly as if there were no reserve, because the reserve is smaller than the highest bid. In a
 second-price auction with a reserve of $6, Bidder Two wins and pays $6. That is, Bidder Two still
 wins because they outbid the reserve. However, Bidder Two pays more because the reserve is
 treated as the second-
 because $6 exceeds all other bids, Bidder Two will win if and only if they submit a bid above the
 reserve of $6. If the reserve is $10, then in both the first- and the second-price auction the item
 remains unsold because the reserve exceeds the highest bid. 25 Figure 2 below illustrates this
 example.




 25
      I further analyze this numeric example in the Appendix C.

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 win at a price above their value (beyond this, subject to winning, bidders prefer to pay as low a
 price as possible) and (b) bidders will strategize while bidding in attempt to get preferred
 outcomes. The complexity of strategies depends on how their values are formed (i.e., private
 versus interdependent), and the auction format.

 47.      In order to understand how auction formats affect bidder strategies, further terminology is
 needed. A sealed bid single-item auction is truthful if each bidder receives the best possible
                                                                                                           43




 48.      I now provide an example to illustrate the concept of truthfulness. Imagine a single-item
 auction with two bidders. Bidder One has value $5 and Bidder Two has value $10. Imagine further
 that the auctioneer has chosen a first-price auction, and Bidder One has submitted a bid of $3.
 What is the best possible outcome for Bidder Two in such a setting? It may be tempting to first
 claim that the best possible outcome for Bidder Two is to win the item and pay $0. However, there
 is nothing Bidder Two can do to make this happen since Bidder One has submitted a bid of $3,
 so the only outcomes available to Bidder Two are to lose the item (by submitting a bid less than
 $3), or to win the item at a price greater than $3 (by submitting a bid $b that is higher than $3). 44
 In particular, winning the item and paying $10 is certainly not the best possible outcome, which is
 the resulting outcome should Bidder Two bid their value (a better outcome, for example, would
 be win and pay $3.01 by submitting a bid of $3.01).
                                                01). Therefore, the first-price auction is not
 truthful.45 The incentive of a bidder to submit a bid that is lower than their value for the item is
          bid shading
 determined by their comparison of the risk of paying more when they submit a higher bid and the
 risk of losing the auction when they submit a lower bid. Figure 6 below illustrates the ideas in this
 paragraph.




 43
   More formally, Bidder i cannot control what bids are submitted by the other bidders. But, no matter what those bids
                                                                 i gets me the best possible outcome, given that the
 other bidders have bid b 1      , bi+1    n                                                             i equal to my

 44
    Depending on how ties are broken, perhaps it is possible to win the item at exactly $3.
 45
    In particular, note that an auction is truthful if it is always best to submit a bid equal to the value. Because this
 example witnesses one case where it is not, this example in fact constitutes a proof that the first-price auction is not
 truthful.

                                                            28
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      Figure 6: In a first-price auction, the bidders are incentivized to submit bids lower than
                                               their values




 49.       Imagine instead that the auctioneer has chosen a second-price auction, and Bidder One
 has submitted a bid of $3. In this case, the options available to Bidder Two are (a) lose (by
 submitting a bid less than $3), or (b) win and pay $3 (by submitting a bid greater than $3). Because


 Submitting a bid of $10 is one way for Bidder Two to win and pay $3, and therefore bidding their
 value is one way for Bidder Two to get the best possible outcome. 46 The implications of these
 examples are not anomalies. Second-price auctions are truthful, and this is one of their key
 advantages in comparison to first-price auctions.47, 48, 49

 46
    Still, recall that an auction is truthful if it is always best to submit a bid equal to the value. This example witnesses
 one case where it is, and so does not constitute a proof that the second-price auction is truthful. However, it does
 give intuition for why this is the case.
 47
    A complete proof of this claim can be found in Theorem 1 the Appendix C.
 48
    The truthfulness of the second-price auctions also holds with interdependent values, as long as the
                                                                       -                                -crossing condition


 mathematical statement is that for all signals s 1    n              i(s1,...,sn  i       1,...,sn i. There are nuances
 to this generalization beyond the technical condition, it requires the auction designer to know how bidders map each
 49
    Single-
 a dominant strategy, meaning there is a mathematically formal sense in which bidding the value is strictly better than
 any other bid. Formal
 gets the bidder an outcome at least as good as bidding b, no matter the other bids, and (b) there are some possible
 bids of the others where the bidder gets a strictly better outcome bidding their value than bidding b. The precise
 truthfulness properties that second-price auctions possess will not play a role in later analysis, this is stated primarily


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                   1)        Comparison of Incentives in First- and Second-Price Auctions

 50.       First- and second-price auctions differ in terms of the strategic behavior they elicit in the
 auction participants and the auctioneer. The suitable format depends on the context of the
 auction.

 51.       Given its truthfulness property, the second-price auction format may seem to be the ideal
 auction format compared to the first-price auctions. This is because bidding in auctions requires
                                                                                     and so they do not know what
 bid will win them the item at the lowest possible price, in other words, their minimum bid to win.
 In a first-price auction, bidders would ideally want to bid a penny above their minimum bid to win
 (if their value exceeds that).
                             ). However, in a truthful auction, the strategic sophistication is not


 truthfully. Also, bidders tend to prefer straightforward auctions where they do not ne
                                                                                     need to do any
 strategic bidding. This further enhances the benefit of the truthfulness of the second-price auction
 format.

 52.       However, there are potential mitigating factors as well. Truthfulness only holds when
 viewing this auction in isolation, it does not necessarily hold when considering a series of auctions
 for several reasons. One example to have in mind is when the auctioneer might change their


 a second-                                                                                                              is
 their value. However, if the bidder has a high value for the item and bids as such, this may indicate
 to the auctioneer that they should set a higher reserve in future auctions, and this higher reserve
 will certainly hurt the bidder in the future.50 It may also signal to other bidders that similar items
 are valuable and increase their future values (and therefore bids). 51




 to note that the argument that bidders should bid their value in a truthful auction is slightly stronger than what is
 implied by Theorem 1 in the Appendix C.
 50
                                                                                  Reserve Price Optimization. This is
 discussed in detail in Section IX.
 51
                                                                    -
 provides a truthful wrapper to put around a non-truthful auction to handle the non-truthfulness on behalf of the bidder.
 Essentially, imagine that the real bidder hires a sophisticated data-rich consultant to bid in a non-truthful auction on

 perspective, assuming the consultant is honest and effective, this is now just a truthful auction (the bidder is best off
 giving the consultant the most accurate information to work with and letting them do their job), and only the consultant
 deals with the messy optimization. In settings where such a sophisticated data-rich consultant is widely available, the

 Econometrica vol. 47, no. 1. 1979. pg. 61 73.

                                                            30
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 58.      Information also helps bidders to optimize their bids. One benefit of a truthful auction is


 is optimal to bid that value. But many auctions are non-truthful. In a non-truthful auction, optimal


 imagine a bidder in a first-price auction, and their value is $5. What should they bid? They
 definitely should not bid anything above $5. But other than that, any strategy for this bidder


 optimization becomes a straightforward process (either bidding a penny more than the maximum
 bid, or purposefully losing if the maximum bid exceeds the willingness to pay). 54 Hence, the ability


 advantage.55
 (perhaps, as an example, their historical bids submitted on similar items).

 59.      Lastly, the sellers use information when they are determining appropriate reserve prices
 for their items. For example, in the context of a second-price auction, a too high reserve will nullify
 the entire auction, a too low reserve has no impact, and setting a reserve in the sweet spot
 between the highest and second-highest bid yields extra revenue. For example, if the highest bid
 is $20, and the second-highest bid is $15, the seller would ideally like to set a reserve at exactly
 $20. Failing that, they would really like to avoid setting a reserve above $20 and prefer to set
 larger reserves between $15 and $20. But if instead the highest bid was $100, and the second-
 highest bid was $50, the seller would ideally like to set a reserve exactly at $100, definitely not
 over $100, and somewhere between $50 and $100. Notice that a good reserve in the first case
 ($20) is useless in the second, while a good reserve (greater than $50) in the second case nullifies
 all revenue in the first. A priori, with no further information, deciding on the optimal reserve is
 challenging at the very least. But every time a seller sees bids in an auction for a similar item,
 they learn a little bit about what they might expect the next time. This data is valuable, because it
 allows the seller to predict whether they are more likely to be shooting for a reserve between $15
 and $20 or between $50 and $100, and to target their reserve at the likely case.

 60.      Another crucial concept is information asymmetry, which refers to cases where one
 agent has more information than another. One source of information asymmetry might be if one
                                                              -price auction before submitting their own. The

 54
   In this example, if the highest other bid is $3.38, they should bid $3.39. If the highest other bid is $1.28, they should
 bid $1.29.
 55

 will be discussed in detail later.

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 special bidder is better able to optimize their own bid, and also may be more informed about their
 own value if values are interdependent. Another example might be if one seller gets feedback
 from lots of auctions, but another does not. Then, the first seller is better informed and can
 potentially set better reserves. Imagine someone, while cleaning out their basement, finds their
 old collection of Pokémon cards and decides to sell them. They would like to set a reserve to
 make sure they optimize their revenue, but they might have no idea for how much Pokémon cards
 go these days. Any information gathered will be helpful to stop them from setting a reserve of
 $100 and risk getting fleeced, or a reserve of $100,000 and risk their collection going unsold. After
 setting a good reserve, they might launch a first-price auction. A friend of the seller might reach
 out and express their interest, but also the friend might be unable to both determine what their
 true value is (part of their value derives from their ability to further resell the set when they lose
 interest) and to bid strategically once a value is determined. In turn, the seller might decide that
 they will just share bids with the friend as they roll in and let them submit theirs at the end. This
 allows the friend to both (a) accurately form their value for the set, by observing the bids of others,
 and (b) bid optimally, by submitting a bid just a penny above the highest other bid (if they decide
 they want to win). By sharing this information with their friend, the seller has created an information
 asymmetry since the friend is both better informed about their value than other bidders, and better
 able to optimize their bidding strategy.

 III.   ONLINE DISPLAY ADVERTISING

 61.    In this section, I provide an overview of parties and concepts that arise within online display
 advertising.

        A.      Pertinent Products and Parties in Transactions for Online Display Ads

 62.    There are several players involved in online display advertising, the goal of this section is
 to outline those players as well as their goals and incentives.

                1)      Publishers and Ad Servers

 63.    Publishers are entities (e.g. the New York Times) that have webpages that can display
 ads and are therefore sellers
 Publishers (and third parties) have a range of information about the particular users visiting their
 page, and each unique visitor can be thought of as its own item for sale. The item for sale is
 referred to as an impression.




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 64.     Like any other business selling goods, in the context of online display advertising, a


 However, publishers must be mindful that their true goal is long-term revenue, and that sometimes
 actions that increase immediate revenue may be harmful to long-term revenue. Hence, publishers
 have concerns such as the quality of ads displayed in addition to immediate revenue. For
 example, if users find display ads offensive or annoying, they may negatively impact the



 65.
 First, the primary benefit of the display ad ecosystem is that ads are targeted, which means that
                                                                                   the right to display an ad
 for running shoes to a runner is more valuable than showing that ad to a golfer. Second, the
 decision regarding which ad to display happens nearly instantaneously. Once the publisher learns
 of a user visiting its website, it must decide which ad to display by the time the webpage loads.
 Third, the publisher may not necessarily have a natural network of advertisers ready and waiting
 to bid on its impressions. The publisher must somehow reach interested advertisers.

 66.     Publishers face a challenging task when they are trying to sell impressions. Imagine the
 selling process of a publisher, who needs to track, store, and share targeting data on each user
 visiting their website, reach a wide network of potential advertisers, decide a revenue-maximizing
 auction to run, and do it all nearly instantaneously while the webpage loads. Publishers usually
 outsource these tasks to a dedicated product called an ad server.

 67.     An ad server is a service that helps publishers manage and sell inventory, overcoming
 the technical challenges listed above. Inventory management and optimal pricing are also data-
 intensive (to accurately determine the aggregate market for each impression) and mathematically
 sophisticated (to determine what the optimal auction is given the data).

 68.
 or charging a fee based on the volume of impressions served. 56 This suggests, in principle, that




 56
    See
 https://web.archive.org/web/20231203094651/https:/www.adglare.com/pricing (describing that AdGlare charges a
 monthly rate that is based on the number of ad requests.)

                                                       35
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                                                                                  57
                                                                                       Google operates an ad server
 called DoubleClick for Publishers (DFP), which was later merged into Google Ad Manager. 58

 69.      There are two key ways through which an ad server might sell inventory. In a live ad
 auction                                                                                                             while
 the page loads, runs an auction for the right to display an ad to this particular user. The auction
 begins only after the user is known, so potential advertisers can submit a bid based on the fine-
 grained information they learn about the user. In a direct deal, the publisher pre-arranges a
 contract with an advertiser to display their ad some number of times across some period at some
 predetermined price per impression, perhaps to users that satisfy some coarse targeting criteria.


 targeting criteria can still be used, it is coarser in comparison to the real-time data available in a
 live ad auction.59, 60

 70.      Establishing a relationship with advertisers for direct deals is time consuming and requires
 a business network. It is perhaps worth the effort for large publishers such as the New York Times
 and large advertisers such as Nike, but it is unlikely that smaller publishers (for example, a local


 (for example, a local escape room) grab the attention of The New York Times for direct deals.
 Because live ad auctions are automated, there is no reason why code written by a local food blog
 cannot interact with code written by Nike.61 As a result, live ad auctions enable small publishers




 57
    An ad server that is not standalone (i.e., owned by an entity that operates elsewhere in the online display ad
 auction ecosystem) could certainly have alternate primary goals. These could be benign and still aligned with a
                                                                            ystem for their primary service to thrive. But
 this also raises potential for misaligned incentives.
 58
                                                                                           See Jonathan Bellack.

 https://web.archive.org/web/20240112234145/https:/blog.google/products/admanager/introducing-google-ad-
 manager/
 59

 https://web.archive.org/web/20240228203217/https://nt.technology/en/faq-en/why-is-targeting-in-programmatic-ads-
 better-than-                                 bilities. Through programmatic advertising, you can easily target the
 specific audience you want to reach using all target opportunities. Rather than trying to reach sports car fans on an
 auto site, brands have the opportunity to create an audience segment of sports car fans and reach them across
 60
    In reality, there are more types of trade in online display advertising markets, but these two are the most relevant
 ones to the case, so I choose to focus on these. See generally
 May 31, 2024.
 https://web.archive.org/web/20240216154938/https:/support.google.com/admanager/answer/177279?hl=en
 61
    But even this is still not trivial, since something still has to do the work of finding and connecting these two
 codebases together (and quickly, by the time a webpage loads). This challenge motivates the role of exchanges,
 which I discuss after introducing the buy side of the market.

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 to display ads from a wide range of advertisers without investing in the business network aspect
 of advertising.

 71.      A publisher can consider both a direct deal and a live ad auction for the same impression.
 For example, upon learning that a user is visiting their webpage, a publisher could first check if
 the impression satisfies a high-value direct deal and if so, sell it via direct deal. If not, the publisher
 could sell the same impression via live auction instead.

                   2)        Advertisers, Large and Small Ad Buying Tools

 72.      Advertisers are entities that wish to display ads to users and are therefore buyers of
 inventory. Each advertiser has a distinct value62 for each impression and that value is determined
 based on the information the advertiser learns about the user behind that impression. An


 price as possible.

 73.      Advertisers can purchase impressions through direct deals or live ad auctions, which can
 be challenging tasks. Imagine that Nike is looking to purchase targeted online advertising. They
 might engage in traditional marketing with large publishers via direct deals, but they will need to
 engage with live ad auctions to reach small and midsized publishers. Nike needs to process data
 on each impression to determine its value, manage an advertising budget across an extended
 time horizon, optimize bidding strategies in live ad auctions, and get connected to publishers in
 the first place. As a result, advertisers outsource these tasks to dedicated products called ad
 buying tools.

 74.      An ad buying tool is a service that helps advertisers find impressions that are available
 for sale, bid appropriately to balance the likelihood of winning versus price paid, manage a budget
 across a time horizon, process any available data on the impression to inform their value, and




 62
     In the terminology introduced in Section II, I assume for the majority of this report that the advertisers have
 independent private values for impressions (the only exception is when identifying a potential impact of Enhanced
 Dynamic Allocation on direct deals in Section IV). This is a simplifying assumption (it is likely that no auction in real
 life purely abides by the independent private values model) that makes the analysis more tractable, and it is a
 sensible assumption to make since (a) internal Google documents demonstrate that Google assumes this as well
 (e.g., GOOG-AT-MDL-004016180), (b) bidders are heterogeneous in their valuation for impressions (the impression

 identities, even if they learn about
 valuation. GOOG-AT-MDL-004016180 at -                                                                        -price, in
 order to bid [in a first-price auction], buyers must believe something about the competition! Assumption: [emphasis
 in original]

                                                             37
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 primary goal is to optimize its revenue, which is typically earned as a fraction of payments made
 by the advertisers it serves (see the examples in paragraph 80 for a numerical illustration). Google
 has ad buying tools in two markets. Google Ads serves small advertisers and DV360 serves large
 advertisers.

 75.      Arguably the most important function of an ad buying tool is that it determines the bids on
 behalf of the advertisers, according to the goals they input to the system. 63 Since online ad
 auctions happen almost instantaneously, the advertisers themselves cannot possibly submit bids
 into the auctions. Instead, they input their goals for their advertisement campaigns into the ad
 buying tool, which then comes up with bids in a timely manner when impressions become
 available. The advertiser goals usually include parameters like the desired volume of impressions,
 budget and time horizon allocated for the campaign, and targeting criteria. 64

                   3)       Ad Exchanges

 76.      Publishers (via ad servers) and advertisers (via ad buying tools) form the sell side and buy
 side of the markets for live ad auctions. It is not a trivial process for ad servers and ad buying
 tools to find each other and transact. Even for something that is commonly bought and sold, such
 as a designer coat, finding every interested buyer on the internet is a difficult task. As a buyer, it
 is also a difficult task to scour the internet to find all the designer coats you are interested in.
 Hence a third-party market/exchange/bazaar would be relied on to aggregate supply and demand.
 For example, customers go to platforms like eBay for Pokémon cards, Etsy for engraved
 chopsticks, and Amazon for books. In all of these cases, the customers rely on the platform
 primarily to match them to sellers.65 The market for impressions is no different, and ad exchanges
 exist to help publishers meet advertisers.

 77.      Ad exchanges provide the service of matching advertisers (buyers) to publishers
 (sellers). Ad servers contact an ad exchange with inventory for sale, and the exchange then
 connects to ad buying tools. Importantly, ad exchanges do not merely connect advertisers to
 publishers, they also run an auction to determine which advertiser wins the impression. That is,
 an ad exchange is more like the New York Stock Exchange (which specifies the stock trading
 mechanism) or Uber and Lyft (which specify the price at which riders and drivers transact) than a


 63
    Depending on the advertisers they serve, the ad buying tools can enable varying degrees of advertiser input into
 the bidding algorithm.
 64
    See
 https://web.archive.org/web/20240602100502/https://support.google.com/google-ads/answer/2472725
 65
    Some platforms also offer derivative services, such as shipping, fraud protection, etc.

                                                          38
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 bazaar (which largely serves as a meeting point for buyers and sellers to engage in whatever
 interaction they like) or Craigslist (which functions largely, although not entirely, like a digital
 bazaar).

 78.     An ad exchange’s primary goal is to optimize its revenue, which is typically earned as a
 fraction of payments made when it facilitates a transaction between an advertiser and publisher.66
 Google operates an exchange called AdX, which was later combined with DFP into Google Ad
 Manager.67

 79.     In sum, publishers sell impressions, and use ad servers to manage this process.
 Advertisers buy impressions and use ad buying tools to manage this process. Exchanges
 intermediate this process by connecting publishers to advertisers. Figure 7 below presents the
 participants and the intermediaries in the online display ads market, with each Google
 intermediary.

            Figure 7: Participants and intermediaries in the online display ads market




 80.     In order to better understand each key player’s role in the markets for the display ads,
 consider the following example. The New York Times is a publisher that uses DFP as its ad server

 66 The conducts described in this report allege examples where AdX claims to earn revenue as a fraction of payments

 made when it facilitates a purchase, but actually collects revenue through a more complicated mechanism.
 67 See Jonathan Bellack. “Introducing Google Ad Manager” (June 27, 2018). Accessed on May 31, 2024.

 https://web.archive.org/web/20240303134019/https:/www.blog.google/products/admanager/introducing-google-ad-
 manager/

                                                         39
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 Figure 8: Nike gets the impression by winning the AdX auction through its ad buying tool
                                          DV360




         B.      Auction Formats Unique to Online Display Advertising

 81.     In Section II, I overviewed standard auction concepts such as the first- and second-price
 auctions, reserves, and personalized reserves. These concepts are all directly relevant to the
 case at hand. This subsection overviews two further concepts that are central to the case and
 prevalent in the online display advertising ecosystem: the waterfall and header bidding.

 82.     One building block for both is the concept of line items. Within an ad server, a line item
 refers to a potential demand source (e.g. an advertiser or an intermediary for an advertiser). Line
 items can be complicated and contain many different types of information, such as (a) an ad to
 display in case this line item is selected, (b) information about the buyer and where to look for
 payment in case this line item is selected, (c) the price that would be paid in case this line item is
 selected, (d) criteria that determine which impressions are permitted to select this line item or (e)
 other metadata to aid the process.71

 83.     The following are a few examples of how demand sources exist as line items.

              a. A guaranteed direct deal from an advertiser offers price p per impression for any
                 impression that satisfies proposed coarse targeting criteria. The advertiser expects
                 exactly some number of impressions to be displayed per time period. When a

 71
    See
 https://web.archive.org/web/20240216155011/https:/support.google.com/admanager/answer/9405477?hl=en (Google


                                                     41
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                   publisher creates a guaranteed direct deal as a line item, it includes the targeting
                   criteria, the price per impression, and where to look for payment. The ad server
                   tracks the numbers to ensure that the right number of impressions are sold. 72

              b. A non-guaranteed direct deal from an advertiser offers price p per impression for
                   any impression that satisfies proposed coarse targeting criteria. The advertiser
                   might also place a cap on the number of times this direct deal can be fulfilled per
                   time period. When a publisher creates a non-guaranteed direct deal as a line item,
                   that line item includes the targeting criteria, price per impression, and where to look
                   for payment. The ad server tracks to ensure that the cap is not exceeded. 73

              c. An individual exchange is also a line item. When a publisher wants to elicit bids
                   from a specific exchange, they add the exchange as a line item. Note that there is
                   a distinct line item for each exchange. 74

                   1)       The Waterfall

 84.      The first key auction concept unique to the online display advertising ecosystem is the
 waterfall, which is a process used by an ad server to sell an impression. When selling an
 impression via the waterfall, the ad server visits line items one at a time in a priority order set by
 the ad server and the publisher.75 When a line item is selected as the winner of the auction, the
 waterfall concludes.

 85.      Ad servers typically prioritize direct deals ahead of ad exchanges. They first check whether
 the impression meets the coarse targeting criteria for a direct deal, and if so allocate the



 72
                                                                                        See

 https://web.archive.org/web/20221209041446/https:/support.google.com/admanager/answer/177426?hl=en
 Some guaranteed direct deals can be based on a percentage of all the impressions satisfying the targeting criteria as
 73
    Non-
 online documentation. See
 https://web.archive.org/web/20240216154933/https:/support.google.com/admanager/answer/79306?hl=en
 74
                                                                               See

 https://web.archive.org/web/20221012075051/https:/support.google.com/admanager/answer/188523?hl=en
 75
    The ad server determines the general groups of line items and the ranking among these groups. See

 https://web.archive.org/web/20240216154938/https:/support.google.com/admanager/answer/177279?hl=en
 Within these groups. the publisher might manually set a line item order or rely on the ad server for automatic ordering
 based on some metric, such as the value CPM. See
 https://web.archive.org/web/20221202071803/https:/support.google.com/admanager/answer/177222?hl=en

                                                           42
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 impression to the highest paying direct deal without visiting any exchanges. 76 If the impression is
 not selected for any direct deal, the ad server then visits exchanges one at a time, in an order set
 by the publisher, with a price floor of r set by the publisher, possibly different for different
 exchanges.77 When visited, the exchange can either claim the impression (and pay at least r to
 the publisher) or pass.78 Figure 9 below illustrates such an example. The waterfall format was in
 use by DFP since before DFP was purchased by Google. 79 Since the rise of header bidding in the
 2010s, which is discussed below, the waterfall has played a relatively smaller role than it once
 played.80




 76
     Prioritization of direct deals over exchanges is a curious feature of the waterfall. If I were to design a waterfall-like
 format from scratch and I were unconstrained by technological challenges, I would (a) find the maximum payment v I
 could get from a direct deal for this impression (maybe v = 0, if it satisfies no direct deal targeting criteria), then (b)
 visit exchanges in the waterfall but setting reserves informed by v (for example, I would certainly never set a reserve
 lower than v, because I would rather just fulfill a direct deal for price v than sell to an exchange below v and I might
 certainly set a reserve above v, in order to get a chance at even greater revenue) and then (c) if the waterfall
 completed without any exchange paying, I would use the impression to fulfill the direct deal and collect my v for doing
 so. I would do this because if I decide to take a direct deal without visiting exchanges, I limit myself to exactly v, while
 if I instead decide to visit exchanges with all reserves higher than v before deciding on the direct deal, I guarantee
 myself at least v (because I can always fall back on the direct deal if all exchanges pass), but have a shot at more
 than v (if I get lucky and an exchange bids). Similarly, if I decide to pass on a direct deal without visiting exchanges, I
 may wind up with 0 if all exchanges pass, while if I instead visit exchanges first and they all pass, I can still get
 something via direct deal. The documentation I have access to does not explicitly state why the opposite decision
 was made, but surrounding context clues suggest this was likely due to technical limitations in a novel ecosystem
 using software initially developed for a simpler ecosystem. Anecdotal evidence also suggests that direct deals
 typically paid much more per-impression than live ad auctions anyway, and so therefore the loss due to suboptimal
 ordering may have been minimal. See
 May 31, 2024.
 https://web.archive.org/web/20231226200704/https:/newsinitiative.withgoogle.com/resources/trainings/grow-digital-
 ad-revenue/understand-direct-and-programmatic-ad-revenue/
 There could certainly be other reasons too. Still, I do not mean to imply that this curiosity has a simple resolution.
 Because direct deals are made with coarser targeting criteria than live ad auctions, direct deal advertisers may insist
                                                                             -sk

 direct deals). I share this commentary primarily to give an example of how an auction theorist might reason through
 the process of auction design, although this particular thought process plays a role in my later analysis of Enhanced
 Dynamic Allocation.
 77
    These reserves can be set by the publisher on their ad server, or on the ad exchange integrated into their ad
 servers. Also, there are third party tools who provide revenue optimization services, in some cases they may set the
 reserve prices on behalf of the publishers. Throughout the report, I mostly abstract away from these differences,
 since they are functionally the same.
 78
    Payments do not occur instantaneously on a per-impression basis. Publishers get periodical payouts depending on
 the ad server they choose to work with. See
 https://web.archive.org/web/20221209003032/https:/support.google.com/admanager/answer/2671030?hl=en
 79
    GOOG-NE-10780865 at -
 80
    See
 Accessed on May 31, 2024.
 https://web.archive.org/web/20240216154913/https:/www.adexchanger.com/publishers/the-rise-of-header-bidding-
 and-the-end-of-the-publisher-waterfall/

                                                              43
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 89.      DFP gives publishers the option to set whatever reserves they like. 83 Documentation
 suggests that most publishers chose to set reserves based on the historical average payment
 from that exchange. 84 Note that, given access to the distribution of historical payments, it is
 suboptimal to simply set the average payment as the reserve. This holds even when there is just
 a single exchange. Seminal work of Myerson (1981)85 describes the revenue-maximizing reserve
 in this case. With multiple exchanges visited through the waterfall, optimal reserves are even
 more complex.

 90.      Documentation also suggests that publishers sort exchanges primarily in decreasing order
 of historical average payment, although exchange fill rate (the fraction of offers an exchange
 accepts) and ad quality (the quality of the visual displayed in the auctioned ad space) might play
 a role too. 86 This heuristic of setting the waterfall ordering on the basis of historical CPM 87
 averages generates nontrivial incentives for the exchanges. A higher winning bid by exchanges
 increases their future reserves (because their average bid goes up), making future impressions
 more expensive. On the other hand, a higher reserve puts the exchange earlier in the waterfall,
 which gives them access to more impressions. Sorting exchanges in decreasing order of reserve
 is natural since (a) combined with the simple average CPM heuristic for setting reserves,
 exchanges have the indirect opportunity to pay more to be placed earlier in the waterfall, and (b)
 if instead exchanges eschew this opportunity and simply pay exactly the reserve to prevent the




 83
    They were later constrained in their freedom to choose appropriate reserve prices by Unified Pricing Rules
 conduct, which I discuss in Section VI.
 84
    GOOG-NE-10780865 at -

 what CPM the line item would likely generate (taking into account its historical performance) or based on a fixed-price
 85
                                              Mathematics Of Operations Research vol. 6, no. 1. 1981. pg. 58-73.
 86
   See GOOG-NE-10780865 at -
 (¶3 describes how publishers ordered demand sources.)
 87



                                                           46
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 reserve price from increasing in future, the revenue-optimal ordering for the publishers is indeed
 to sort exchanges in decreasing order of reserve.88, 89

 91.      From an auction theory perspective, waterfalling as a procedure for selling impressions is
 inefficient and sacrifices revenue. This is because waterfalling forces the ad server to decide
 whether to sell to one exchange before learning what other exchanges might bid. A first- or
 second-price auction among exchanges (as opposed to the waterfalling) simultaneously
 considers all exchanges, which avoids this problem. Indeed, there are several research papers
 quantifying the suboptimality of sequential auction formats (specifically, posted-price
 mechanisms,90 which are the closest common auction format to waterfalling) as compared to
 simultaneous auction formats (specifically, second-price auctions). 91 Moreover, the concept of
 sequential decision-making with partial information versus simultaneous decision-making with all
 information is well-studied within computer science broadly under the field of Online Algorithms


                                     92
                                          and it is well-understood that binding sequential decisions come
 at a loss compared to a single decision with all the available information.

 92.      An ad server might still employ the waterfall process even with these suboptimalities. One
 reason computer scientists study online algorithms is because making a single decision with full



 88
    This leads to the question of why exchanges ever pay more than the reserve price. First, some exchanges may
 have inflexible contracts with advertisers that preclude them from being particularly strategic with bids. For example,
 perhaps an exchange agrees to take exactly a 20% cut of the winning bid and give the rest to the publisher. Then, if
 this exchange has an advertiser willing to pay up to $6, and their reserve is $4, the highest revenue the exchange can
 collect is by paying $4.80 to the ad server and collecting $1.20 on $6. If instead the exchange were to pay exactly $4,
 this would correspond to taking a 20% cut of $5, which is just $1. However, this reasoning does not apply if
 exchanges were not bound by such contracts. An unbound exchange in this example could pay $4 to the ad server,
 collect $6 from the advertiser, and pocket $2. Second, if the ad server indeed uses the average of past clearing

 the impression, being early in the waterfall is the only way to get a shot at the impression. Therefore, exchanges may
 wish to submit higher bids than what is needed to win in order to increase their average historical bid and move
 earlier in the waterfall.
 89
    The waterfall can be analyzed in comparison to the other common auction formats. The closest standard auction
 format to waterfalling is a posted-price mechanism. In a posted-price mechanism, exchanges would be visited one at
 a time, offered the impression at a personalized reserve, and could either pay the reserve to receive the impression,
 or pass. In a waterfall, the only difference is that exchanges can choose to pay above the reserve.
 90
    In general, under posted-price mechanisms, the first bidder that clears their reserve is awarded the auctioned item.
 91
    See, e.g.                                                                        Proceedings of the 10th ACM
 Conference on Electronic Commerce. 2009. pg. 225-234; Alaei, Hartline, Niazadeh, Pountourakis, and Yuan.
                                               Games and Economic Behavior vol. 118. 2019. pg. 494-510; Jin, Lu, Qi,
                                                                        Proceedings of the 51st Annual ACM SIGACT
 Symposium on the Theory of Computing. 2019. pg. 674-685.
 92
    See, e.g.                                                                              Communications of the ACM
 vol. 28, no. 2. 1985. pg. 202-
 Probability on Banach spaces. 1978. pg. 197-
 Econometrica vol. 47, no. 3. 1979. pg. 641 654.

                                                           47
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          A.        Dynamic Allocation

 103.     The impact of Dynamic Allocation on the waterfall process depends on the types of line
 items present in the waterfall. More specifically, whether there are only static demand sources or
 there are both static and live demand sources109 affects how Dynamic Allocation works, as well
 as its impact on the auction procedure and outcomes. Hence, I analyze Dynamic Allocation
 separately for static demand sources and live demand sources.

                    1)      Dynamic Allocation with static demand sources

 104.     I first present an overview of Dynamic Allocation during the period when it was first
 introduced. 110 Initially, all line items were static, so Dynamic Allocation addressed a natural
 shortcoming of the waterfall format. When all line items competing with AdX are static, Dynamic
 Allocation with Static Line Items adjusts the waterfall process in the following manner:

                                                                                                   111
               a.                                                                                        that are not
                    affected by Dynamic Allocation (such as direct deals). If any high priority line item
                    succeeds, the impression is sold, and the waterfall terminates without continuing
                    to subsequent steps.

               b. Every low priority line item, including AdX, has both a price floor and a Value
                    CPM.112 Next, DFP selects the highest Value CPM among all low priority static line


 109

 outcomes of any auctions. For example, the line items that Google documentation refers to as sponsorship or
 standard would be static line items. See
 https://web.archive.org/web/20240216154938/https:/support.google.com/admanager/answer/177279?hl=en

 auction before submitting a clearing price.
 110

 documentation from that time points to 2007 as the introduction of Dynamic Allocation. See

 https://web.archive.org/web/20071001100309/http:/www.doubleclick.com/products/advertisingexchange/index.aspx
 Google documentation claims it is 2008, while agreeing that it predates Goog                                 -
 AT-MDL-008991406 at -
 111

 at priority 1-                                          -
 referring to line items that are at priority 12-16. See
 2024. https://web.archive.org/web/20240216154938/https:/support.google.com/admanager/answer/177279?hl=en

 standard or sponsorship line item was determined to be guaranteed if the publisher has configured it with a higher
 priority than AdX, AdSense,                                                           -AT-MDL-008842393 at -97.
 112
    Value CPMs are set by the publishers, and they usually correspond to the value of those line items for the
 publishers. Google provides the following formula to estimate the value CPM: Value CPM = (Total revenue received
 from ad tags associated with selected line item/Total number of impressions Ad Manager sent to the selected line


                                                         54
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 108.   To illustrate how Dynamic Allocation with Static Line Items works, imagine an impression
 arrives for a user over the age of 25 who likes running. DFP notices that this satisfies the coarse
                                                                   d, and the waterfall (even with
 Dynamic Allocation) ends here. This example is illustrated in Figure 18 below.

     Figure 18: An impression is allocated to an Altra direct deal in Dynamic Allocation
                          because it fulfills the targeting criteria




 109.   Another new impression arrives for a user over the age of 25 who likes expensive
 handbags. DFP does not have a direct deal that meets this targeting criteria, and so moves on to
 lower-priority line items and observes that the highest Value CPM option is from a static line item
 for $4. DFP then calls AdX with a reserve of $4. AdX does not find a buyer above $4, and the
 waterfall concludes by allocating the impression to the static line item for $4. This example is
 illustrated in Figure 19 below.




                                                 59
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 138.     Enhanced Dynamic Allocation expands Dynamic Allocation to also include high-priority


 set of line items, then (b) allowing AdX to be considered before any of those line items, 182 but (c)
 setting the reserve price of AdX to be equal to the maximum Value/Temporary CPM of those line
 items.183

 139.     Under Enhanced Dynamic Allocation, impressions that otherwise would have been


 This follows immediately from the definition of Enhanced Dynamic Allocation since it allows AdX
 to run an auction for all impressions. The Enhanced Dynamic Allocation-generated reserve price
 might be high, but AdX will always have the opportunity to run an auction for all impressions.
 Without Enhanced Dynamic Allocation, any impression with a viable high priority line item would
 not be available to AdX for auction.

 140.     Furthermore, AdX is the only exchange that unconditionally has this opportunity. Under
 Enhanced Dynamic Allocation, another exchange can have this opportunity, but only if (a) its
 Value CPM exceeds the highest temporary CPM among high priority line items, and (b) AdX fails
 to clear its reserve. In particular, (a) suggests a high barrier to this exchange being considered in
 front of the high priority line item at all, 184 and (b) notes that AdX still gets a first bite, even if the
 Value CPM of an exchange is high enough to satisfy (a).

 141.     As Enhanced Dynamic Allocation runs live auctions for every impression, it will likely
 create a revenue increase for the publishers in the short run. 185, 186 This conclusion is supported
 by an internal Google slide deck,187 an excerpt from which is reproduced in Figure 28. It shows
 that Enhanced Dynamic Allocation led to an increase in publisher revenue from AdX in the first

 182
    When one of these line items is a header bidding line item, Dynamic Allocation considers AdX before that line
 item, although of course that line item itself was generated from a live bid in an auction executed before the ad
 server.
 183

 reserve beyond the maximum Value CPM.
 184

 $10-20 CPMs (cost per thousand impressions), while programmatic ads average $1-
 Direct and Programmatic Ad Revenue.
 https://web.archive.org/web/20231226200704/https:/newsinitiative.withgoogle.com/resources/trainings/grow-digital-
 ad-revenue/understand-direct-and-programmatic-ad-revenue/
 This suggests that temporary CPMs of high priority line items would likely be higher than static Value CPMs of low
 priority line items.
 185
     In my opinion, the magnitude of these changes would increase due to conduct such as Dynamic Revenue Sharing
 which causes AdX to clear its publisher-set price floor more often.
 186
     Importantly, it is possible that many publishers deprioritize short term revenue, and care more about their revenue
                                                                           -
 187
     GOOG-NE-

                                                           79
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 quarter of 2014. This also makes sense, as high priority line items are all static. I previously noted
 in Section IV.A that it would increase revenue to allow a live demand source the option to outbid
 a static demand source.

 Figure 28: An excerpt from an internal Google slide deck plotting the impact of Enhanced
                               Dynamic Allocation on publisher metrics188




 142.      Since AdX generates revenue by taking a cut of the clearing prices, the plot above shows
 that Enhanced Dynamic Allocation increases AdX and Google revenue as well. This can be seen
 by the upward trends of the plots in the figure above. If impressions that satisfy targeting criteria
 for direct deals are on average more valuable than impressions that do not, 189 then Enhanced



 188
       GOOG-NE-03872763 at -
 189
                                                       average $10-20 CPMs (cost per thousand impressions),
 while programmatic ads average $1-         See
 Accessed on May 31, 2024.
 https://web.archive.org/web/20231226200704/https:/newsinitiative.withgoogle.com/resources/trainings/grow-digital-
 ad-revenue/understand-direct-and-programmatic-ad-revenue/

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         A.        Exchange Bidding

 146.
 Exchange Bidding, a technology similar to header bidding, after observing the rise of header
 bidding technology.192, 193, 194 Exchange Bidding created a separate auction of auctions into
 which all exchanges except for AdX submit their bids. AdX would then submit a bid against the
 prevailing bid from this auction of auctions. Similar to header bidding, Exchange Bidding was a
 first-price auction.195 Furthermore, publishers could use both header bidding and Exchange
 Bidding at the same time.

 147.    Exchange Bidding augments the waterfall process in the following manner: 196

              a.




              b.




 192

                           -rollouts of Unified Pricing Rules and the AdX auction format change to the first-price. See

 Accessed on May 31, 2024. https://web.archive.org/web/20220523024855/https:/www.adexchanger.com/ad-
 exchange-news/tuesday-27082019/
                                                              See GOOG-NE-03995243 at -3. July 25, 2018.
 193
                                                                                                                       -
                                                                                                         See Anthony
                             -Side vs. Server-
 Accessed on May 31, 2024.
 https://web.archive.org/web/20240314163210/https:/www.adexchanger.com/adexplainer/adexplainer-client-side-vs-
 server-side-header-bidding-whats-the-                     -side header bidding, the bulk of that processing occurs
                                                       -side header bidding, the processing happens on a remote
 194
                                                                                               .
 195
                                                                                     -price] auction; Since other
 exchanges already have experience with submitting 1P bids into HB wrappers, it was the easiest way to build out the
                -NE-13494966 at -
 196
     GOOG-TEX-

 plans on Exchange Bidding rollout.)

                                                          83
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                   advertisers who bid the same whether or not AdX has a Last Look advantage. 224,
                   225




 160.     In addition, when AdX wins these additional impressions, in many cases it pays just a
 penny more than the winning header bid and so does not increase publisher revenue. Specifically,


 second highest value and its reserve, then AdX wins the impression with Last Look at price h
 (plus a penny), while without Last Look the header bid of h would have won. When some
 exchanges participate in header bidding while others participate in exchange bidding, 226 only
                                                                                                                       227


 Specifically, the highest header bidding bid would become the reserve for AdX, whereas bids
 through Exchange Bidding are not revealed to AdX before AdX submits its own bid. That is, within
 AdX and Exchange Bidding exchanges, no one has a Last Look Advantage over the other,
 because their bids are submitted simultaneously.228 Exchanges that are integrated into Exchange
 Bidding see the same DFP reserve as AdX, hence they also have a Last Look advantage over
 header bidding exchanges.229

 161.     Therefore, one interpretation of Exchange Bidding is that it creates two tiers: Exchanges
 that participate in header bidding and exchanges that participate in Exchange Bidding together
 with AdX.230


                                                                                              231
                                                                                                    AdX and Exchange
 Bidding exchanges have a Last Look advantage over exchanges that participate in header
 bidding, but do not have a Last Look advantage over each other, placing them in the top tier.


 224
    Recall again that I have shown a natural example in Appendix D where bidding identically in these situations is
 optimal for advertisers.
 225

 advertisers bid similarly in these two cases, the same conclusions still qualitatively hold. If a sophisticated publisher
 drastically inflate
                                                                                     -cut and would require a complicated
 analysis weighing the benefits of Last Look versus the impact of an increased reserve and distinct bids.
 226
     Importantly, exchanges could participate in both. I am not claiming that this was the case, I am providing
 explanations based on a hypothetical.
 227
     Last Look was phased out in 2019, when AdX transitioned to a first-price auction format. See GOOG-TEX-
 00841386 at -
 228
     See GOOG-TEX-00000744 at -
 229
     GOOG-DOJ-AT-01815211 at -222.
 230
     Again, exchanges can happen to be in multiple of these groups, since they can integrate into both header bidding
 and Exchange Bidding.
 231
     As previously noted, if exchanges that are integrated into header bidding see the same DFP reserve as AdX,
 header bidders are also vulnerable to a Last Look from these exchanges.

                                                            91
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 Because a Last Look advantage is significant in first-price auctions, it would be natural for


 Look advantage over header bidders,232 even though DFP takes a 5% fee on top of the clearing
 price when the winner is an Exchange Bidding exchange. 233, 234

 VI.         CONDUCT ANALYSIS: UNIFIED PRICING RULES

 162.
 instated in 2019 (and in place today235                                                                transition to the
 first-price auction format.236

 163.        I demonstrate that UPR leads to lower revenue for the publishers. I also demonstrate that


                                                                                                        s and ad buying
 tools.

 164.        Prior to UPR, publishers could set different reserves that applied to different exchanges
 or different ad buying tools. Under UPR, publishers can no longer employ these personalized
 reserves to their full extent,237 because any reserve price set for non-guaranteed line items applies
 to all non-guaranteed line items.238 This reduces publisher choice by preventing them from setting
 personalized reserve prices. Publishers retain the ability to set personalized reserves on individual
 advertisers, but not on individual exchanges or ad buying tools. 239 Furthermore, publishers may




 232
    And after the change referenced in GOOG-DOJ-AT-01809483 went live, it would be further natural for exchanges
 to want a Last Look over header bidders. GOOG-DOJ-AT-01809483 at -
 233
       Of course, the most natural auction format is to avoid creating tiers and a Last Look advantage at all, and to
 234
    Last Look advantage was removed in 2019 during the implementation of Unified
 the first-price auction format. See GOOG-TEX-00841386 at -
 235

 https://web.archive.org/web/20230208153751/https:/support.google.com/admanager/answer/9298008?hl=en (current
 Google Ad Manager documentation on UPR).
 236
     See generally
 on May 31, 2024. https://web.archive.org/web/20240122142404/https:/blog.google/products/admanager/update-first-
 price-auctions-google-ad-manager/
 237
     GOOG-AT-MDL-000875073 at -
 238
     See
 https://web.archive.org/web/20230208153751/https:/support.google.com/admanager/answer/9298008?hl=en (current
 Google Ad Manager documentation on UPR).
 239
     More specifically, publishers are free to set their reserve price at any level they desire, however this reserve price
 applies to all exchanges and ad buying tools.

                                                              92
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 they submit a bid, b, between the reserve, r, and their value, v, they will win the impression and
 pay b < v which is strictly better than bidding their true value.

           A.        Dynamic Revenue Sharing v1

 189.      DRS was launched in August 2015278 without announcing it to publishers or advertisers. 279
 In its first iteration, DRSv1, AdX dynamically decreased its take rate to be lower than 20% to win
 impressions that it would not have if the take rate was kept at 20%. AdX decided to either impose
 a 20% take rate or decrease the take rate depending on a few factors including comparisons
 between the first and the second highest bid and the publisher reserve, 280 as well as the average
                                                                                                         281




 190.                                                              : 282

                a.




 278
       GOOG-TEX-00777528 at -                                                  -pm] Re: [drx-pm] LAUNCHED! AdX
                                                                   nd

 sell-



 280
       GOOG-NE-06864639 at -                                   -



 282
    This conduct occurred exclusively during a period where AdX ran a second-price auction.
 283
    For the sake of clarity, I abstract away from the ad buying tool fee, since it is immaterial to the analysis conducted
 here.

                                                            105
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                       i.




             e.



 191.    DRSv1 impacts the auction only in one case where the highest bid is high enough to clear
 the reserve price, but not high enough to do so if AdX takes its full fee of 20% of the clearing price.
 When that happens, AdX dynamically decides to decrease its take rate so that it returns a
 successful bid to the ad server and wins the impression.

 192.    To illustrate how DRSv1 works, imagine an impression arrives, and the publisher reports
 a price floor of $10.288 AdX solicits bids and receives top-two bids of $20 and $10. In this case,
 with both a regular second-price auction and DRSv1, the AdX clearing price is $12.5, because
                                                                                                    and
 DRSv1 has no impact. This example is illustrated in Figure 32 below.




 288

 when an exchange sets a reserve on advertisers.

                                                   106
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 between the first and the second highest bid and the publisher reserve, as well as debt balances
 for the publishers and advertisers.294

 197.     DRSv2 was launched in the second half of 2016. 295 Google announced DRSv2 when it
 was launched.296 The publishers were allowed to opt out of DRSv2, however, if they did, Google
 turned off DRSv1 for these publishers as well. 297 Advertisers and ad buying tools could not opt
 out of DRSv2. 298

 198.

               a.
                                                                                                                       299




               b.




               c.




               d.



 294




 295
     GOOG-NE-04934281 at -
 (functionality), including that it launched into AdX UI in June 2016 and came into effect in August 2016.)
 296
     GOOG-NE-06842715 at -
 announced in June 2016.)
 297
     GOOG-NE-04934281 at -                                                                              -out of revenue
 share based optimizations in the AdX UI. If you opt-out we will apply your contracted revenue share to every Open
 Auction query and you will not benefi
 298
     GOOG-NE-04934281 at -
 299
    For the sake of clarity, I abstract away from the ad buying tool fee, since it is immaterial to the analysis conducted
 here.
 300




                                                            110
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 207.     I discuss the implications of participating in a debt-aware second-price auction later in this
 section, and observe now just that step d.ii. above indeed charges the winning bidder a price that
 exceeds their bid.311

          C.        Truthful Dynamic Revenue Sharing

 208.     With the third and last iteration tDRS, AdX dynamically adjusted its take rate to sometimes
 be higher or lower than 20% to win impressions that it would not have if the take rate was kept at
 20% on a per-query basis. Under tDRS, Google determined the dynamic take rate it is going to
                                            312
                                                  In contrast, both DRSv1 and DRSv2 adjusted the take rate
 after AdX observed the submitted bids.313 Under tDRS, the take rate calculation is done based on
 the past AdX data. Internal Google documents states that the prediction model that determines
                                                                                                            -revshare
                    314
 reserv

 209.     tDRS was fully launched in the second half of 2018. 315 When AdX migrated to a first-price
 auction format in 2019, the DRS program was shut off. 316

 210.

               a.
                                 317




               b.




 311
     And recall again that this follows because we are assuming all debt clears, and so therefore can count payments
 made to clear debt the moment that debt is accumulated.
 312
     GOOG-AT-MDL-
 factor will be determined based prediction result before the request is being passed down to RTBs or CAT2 mixer (for
 313
     GOOG-NE-13226622 at -
 the auction untruthful as we determine the AdX revshare after seeing buyers' bids and use winner's bid to price itself
 (first-pricing) when the bid
 314
     GOOG-NE-13214748 at -
 315
     GOOG-TEX-                                                              Update (July 30, 2018): We launched a




                                                          118
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                     2)       Advertisers would have submitted different bids to maximize their payoffs
                              had Google revealed DRSv1

 227.       Google misled advertisers by not revealing DRSv1, and hence led them to believe the
 AdX auction was a regular second-price auction, which would cause them to engage in
 suboptimal behavior. When advertisers believe they are participating in a regular second-price
 auction, they would bid their true value for the impression, because it is a truthful auction.
 However, DRSv1 is not truthful, as established before. Therefore, concealing DRSv1 caused
 advertisers to bid their true value in a non-truthful auction, whereas advertisers would get higher
 a higher gain by shading their bids.

 228.       By not revealing DRSv1 to the advertisers, Google made material gains. This is because
 if advertisers were to shade their bids, which is the natural bidding behavior in a non-truthful
 auction like DRSv1, this would lead to less revenue for both AdX and publishers.347 However,
 advertisers likely did not shade their bids, since Google never publicly revealed DRSv1.

            G.       Some aspects of DRS are exceptionally misleading

 229.       To conclude the section, I want to briefly note a few aspects of DRSv2 that I find
 exceptionally misleading to advertisers, and an aspect of DRSv2 and tDRS that I find misleading
                                                                                                          slead both
 advertisers and publishers regarding how much they are paying or paid out.

 230.       First, I want to repeat that my previous analysis establishes that when advertisers behave
 optimally in DRSv2, no transactions should ever occur in the dynamic region. Instead, Google
 claims that enough transactions occurred in the dynamic region to account for a
                                                      348
                                                            This increase necessarily comes at the expense of
 advertisers ultimately paying more than their value for an impression.

                                                                                    349
 231.                                                                                     regarding DRS that I find
 misleading, due to the concept of debt.




 347
       But this does not mean DRSv1 as a whole, after accounting for bid shading, would necessarily lose revenue. It

 and less revenue for AdX and the p
 concealing DRSv1.
 348
     GOOG-NE-13234466 at -
 349
     GOOG-NE-04934281 at -

                                                             128
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                 a.




                      ultimately charged more than their bid after accounting for both immediate
                      payment and debt to be collected later.

                 b.




                      then t
                      impression as immediate payment, after subtracting any debt assigned that will be


                      in the dynamic region, publishers are indeed paid their reserve as immediate
                      payment, but are also assigned non-negative debt. This debt may wind up being
                      cancelled (if the winning advertiser clears their own debt while later transacting
                      with this publisher), owed (if the winning advertiser clears their own debt
                      elsewhere), or yielding extra payout (if some other advertiser later clears debt
                      incurred elsewhere with this publisher). Even after accounting for debt, it is
                                                                                        east the reserve set on any
                                                                                                 always paid at least
                                                                                                                350




                 c. If the concept of debt was not clearly disclosed, the general description of DRS as
                      per-query revenue share optimization is insufficient for advertisers to draw
                      conclusions at the level I have drawn in my report. Moreover, even for advertisers
                      who are already optimizing bids at a per-impression level, the concept of debt
                      significantly obscures feedback. Indeed, a typical optimizer might ask questions of


                      my payoff from this impre


 350
       Sellers would reasonably care about whether they are paid their reserve or not, as this reserve constitutes the

 elsewhere.

                                                             129
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 and revenue for GDN (again in the case of Projects Bernanke and Global Bernanke, without
 assisting GDN advertisers at all).

 233.     Project Bernanke and all its variants can be understood as simultaneously facilitating the
 effects of collusion among GDN advertisers, without their knowledge, and overbidding in auctions.
 I explain this view in detail in this section. The starting point f
 observation that
                                       354
                                                                            -
 lowering the second-highest bid it sends in order to lower the payment GDN must make to win
 the impression.355 In isolation, this would be a pure transfer of funds from exchange/publisher to
 GDN, but would technically result in a high take rate by GDN towards its advertisers, compared
 to what is contracted. This aspect of Project Bernanke is akin to facilitating collusion among GDN
 advertisers (and in this case, without their knowledge). 356 The second half of Project Bernanke
 uses the savings from the first half and spends it to subsidize overbidding. 357 That is, the second
 half of Project Bernanke boosts the bids of its advertisers before sending them to AdX, but uses


 Project Bernanke variants, the two halves balance out to (a) generate increased revenue and
                                                                                                          358
                                                                                                                (c) have an
 indeterminate effect on publisher revenue (the first half decreases publisher revenue while the
 second half increases it), (d) in the case of Project Bernanke and Project Global Bernanke, not
                                                                   scribe Project Bernanke in greater detail, and
 Appendix H contains additional discussion on overbidding and collusion in first- and second-price
 auctions.




 356

 group of bidders to get together and jointly strategize on how to collectively bid, nor for an ad buying tool to facilitate
 this. My understanding is that other ad buying tools may have dropped their second-highest bid entirely. GOOG-NE-
 13200831 at -
 employing this strategy [sending two bids] i
 Still, GDN is indeed facilitating collusion by implementing a joint strategy for its advertiser pool together, rather than
 357
   GOOG-AT-MDL-001412616 at -
 much. But we have to subsidize it. One is good for us [GDN] and bad for publishers. Other is bad for us [GDN] and
 358
    Some documents I have reviewed states that the GDN take rate is 14% and others state that it was 15%. I use
 14% throughout the text, except in the cases where I cite a specific document that states 15%. This difference in the
 take rate does not have any effect on my conclusions throughout this section.

                                                             131
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          A.        Project Bernanke
                                                                                                               359
 234.                                                                                                                with
 only GDN advertisers and submitted the top two bids from that auction to AdX. 360, 361 Under
 Project Bernanke, between 2013 and 2015, 362
 sending them to AdX in the following manner:363

               a.




               b.




               c. On a per-auction basis, GDN under Project Bernanke always paid AdX the AdX
                    clearing price (when a GDN bidder wins). GDN charged its highest bidder in the
                    following manner when GDN wins the AdX auction:

                        i. Let b1 denote the highest GDN bid, and b 2 denote the second highest GDN


                                                                             -GDN bids received by AdX). Then
                            the winning bidder is charged



 359
                                           -NE-11753797 at -                                                            -
 360
     GOOG-NE-06839089 at -
 361
     During the entire lifetime of Project Bernanke, AdX conducted second-price auctions. This subsection covers the
 original Project Bernanke, and later subsections cover its variants.
 362
     Project Bernanke was launched in 2013. It was in place until Project Global Bernanke was launched in 2015. See
 GOOG-DOJ-28385887 at -
 (mid-
 363
     GOOG-AT-MDL-008881638 at -
 (describing the mathematical formulation of Bernanke.)
 364
 365
    To be clear, I am opining that this aspect of Project Bernanke, and collusion among GDN bidders, helps GDN at
 the expense of publishers. This is not an opinion on Project Bernanke as a whole.
 366

 interpreted similarly to DRS it guarantees that a GDN
 price, and GDN will lower its take rate. Going from 1 to 4 can be interpreted as overbidding, because if it causes a
                                                                                be at a price exceeding their value.
 367
     To be clear, I am opining that this aspect of Project Bernanke, and overbidding in a second-price auction, helps
 publishers at the expense of GDN advertisers this is not an opinion on Project Bernanke as a whole.

                                                          132
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 256.     Under Projects Bernanke and Global Bernanke, the win rate of non-GDN advertisers on
 AdX would decrease. This is because the GDN advertisers are still winning every impression that
 they would have won without Projects Bernanke and Global Bernanke, but they are also winning
 additional impressions. Some of these impressions previously would have been won by non-GDN
 advertisers, so these advertisers face a lower win rate. 393

 257.     Google internal documentation shows that non-GDN advertisers saw a decline in their win




                   2)       Advertisers would have shaded their bids to maximize their payoff had
                            they known about Projects Bernanke and Global Bernanke

 258.     Google concealed vital information from advertisers by concealing Projects Bernanke and
 Global Bernanke. Provided that neither Project Bernanke nor Project Global Bernanke were
 disclosed to advertisers, they would naturally believe they were still participating in a truthful
 second-price auction and bid their true value as a result. If advertisers knew they were
 participating in a non-truthful auction, they would have instead considered shading their bids.
 Knowing the auction format is vital information to advertisers aiming to optimize their payoff. In
 particular, Projects Bernanke and Global Bernanke are dirty second-price auctions. 397
 Specifically, if c denotes the minimum bid to win for GDN on AdX, then from the perspective of a
 GDN advertiser, Projects Bernanke and Global Bernanke are both dirty second-price auctions




 auction turns into a regular second-
 their bid and be subsidized by Bernanke pool for the remaining amount. Therefore, this is a dirty
 second-price auction.




 393
     Some of these impressions could have been previously unsold.
 394
     GOOG-DOJ-28385887 at -
 395
     GOOG-DOJ-28386151 at -                                                -
 396
     This is because, as noted previously, the price a non-GDN advertiser pays if they still win under Projects
 Bernanke and Global Bernanke can only increase from what they would pay with no Bernanke.
 397
     See Section VII for more information on dirty second-price auctions.

                                                           144
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          G.       Project First-Price Bernanke

 264.     AdX eventually switched to a first-price auction, 402 which renders the particular collusion
 mechanics of old Project Bernanke obsolete. This is because the first-price
                                                                 first       auction is pay-your-


 framework of colluding and overbidding still apply, but the precise mechanics differ. I provide more
 details on this in Appendix H.

 265.     As I previously discussed, first-price auctions are not truthful. In fact, for any bid b less
                                v, it is always better to bid b instead of v. 403 However, an economic
                                                      404
                                                            allows an intermediary to make a first-price auction
 truthful for participants. Intuitively, it works in the following way: The intermediary first comes up


 intermediary then tells the bidders to report their true values and assures them that if they win,
 they will be charged their minimum bid to win. But the intermediary does not submit the true values
 of the bidders to the auction on their behalf, and instead submits bids calculated by the
 optimization device. The auctioneer then executes a first-price auction with those bids. From the
 perspective of the advertisers, this is a truthful auction, because they always pay their minimum
 bid to win. But potentially there is a mismatch in payments since the minimum bid to win (what is
 charged to the winning bidder) might differ from what is calculated as the optimal bid from the
 highest value submitted by the bidders (what is paid to the auctioneer). If the device is excellent
 at bid optimization, these will perfectly balance out on average. If not, there can be a benefit or
 loss to either party. For the rest of this analysis, I assume that the bid optimizer is excellent. 405

 266.     First-Price Project Bernanke has three components: (a) a bid optimizer for GDN users that
                                                  -price auction truthful, (b) collusion among GDN bidders,
                                                                                              (c) overbidding, which




 402
     See
 31, 2024. https://web.archive.org/web/20240122142404/https:/blog.google/products/admanager/update-first-price-
 auctions-google-ad-manager/
 403
     To see this, observe that bidding v guarantees a payoff of 0, no matter what since it either leads to losing the item,
 or winning the item and paying the bid. Bidding b that is less than v instead guarantees a payoff no worse than 0
 since it either leads to losing the item or winning the item and paying less than the value.
 404
     See                                                                              Econometrica vol. 47, no. 1. 1979.
 pg. 61 73.
 405
     Shortcomings of the bid-optimizer are certainly relevant for thinking through the impacts of First-Price Project
 Bernanke, but it is not relevant to the conclusions I draw based on collusion and overbidding alone.

                                                             147
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 Bernanke, (b) and (c) are conceptually similar but implemented via different mechanics (due to
 the different mechanics between first- and second-price auctions).

 267.       First-Price Project Bernanke carries the same motivation as Project Bernanke. GDN


                                                 -Price Project Bernanke again observes that overbidding


 causes collateral damage to non-GDN advertisers. Additionally, there is also an added
                                                       -price auction to make it truthful.

 268.       Under First-
 them to AdX in the following manner:406, 407, 408

                a.


                                                                           409




                b.




                c.




                         i.




 406
       First Price Project Bernanke was launched in 2019. See GOOG-AT-MDL-008842383 at -88. August 5, 2023.

 First Price Auction. The updated version of Bernanke was sometimes referred to within Google
 407
     GOOG-DOJ-AT-
 408


 409




                                                        148
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 271.      When AdX participates in a simultaneous auction with other exchanges, First-Price
 Project Bernanke could cause AdX to win more or fewer impressions. When AdX participates in
 an auction with other exchanges, such as in Exchange Bidding, it matters not only whether AdX
 clears its reserve, but also at what price it clears. A higher clearing price would cause AdX to
 win more often, and a lower clearing price would cause AdX to win less often. In a first-price
 auction, the clearing price is the highest bid, and
 or decrease based on whether Project First-
 bid to increase or decrease. The overbidding aspect causes GDN to submit a higher bid. On the
 other hand, the collusion aspect causes GDN to submit a lower bid. 414 Because impacts are
 possible in both directions, AdX would sometimes have a higher clearing price and sometimes
 have a lower clearing price.

 IX.       CONDUCT ANALYSIS: RESERVE PRICE OPTIMIZATION
                                                                                                                 415
 272.


 explain the mechanisms through which it leads to lower payoff to advertisers and could lead to
 lower revenue for some publishers. Furthermore, I outline how it impacts publisher and advertiser




 273.      In particular, it is my opinion that Google concealed information that is material to both
 publishers and advertisers during the period RPO was concealed. It is also my opinion that even
 after RPO was revealed, publishers might set suboptimal reserves on any impression for which
 RPO is a possibility.416

 274.      Under RPO, AdX used data available to them (prior to seeing live bids) to calculate per-
 buyer reserve prices417                                                            418
                                                                                          AdX then used these

 414


 415
     There seems to be other programs that are called RPO previously. However, they substantially differ from the
 conduct I am discussing here. The main difference between those programs and this conduct is that this conduct sets
 per-buyer reserve prices.
 416
     That is, unless a publisher knows whether RPO activates on a particular impression, and if so what reserve RPO
 would set, I would expect publishers to lack sufficient information to set a profit-maximizing reserve.
 417
     GOOG-NE-13204729 at -
 418
       GOOG-NE-06151351 at -                                                               -pm] Re: [drx-pm]




                                                        151
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 reserves in its own auction instead of the reserves set by the publisher, although this reserve
 was always at least as large as the reserve set by the publisher. 419 The program was launched
 in phases between April and October 2015.420 Initially, Google did not announce this program to
 its customers.421 Later, Google announced the program to its customers under the name
                                     th
                                      , 2016, more a year after its initial rollout.422 Publishers were not
 allowed to opt out of the program.423 The program was deprecated in 2019 with the switch of
 AdX to the first-price auction format.424

 275.      Internal Google documents suggests that RPO relies on an algorithmic optimization that


                                                                                               425
                                                                                                     Importantly, this
 tool aims to set the reserve price just below what the highest bidder is willing to pay, 426 by
 coming up with an empirical estimate of this willingness to pay, which was assumed to be equal
 their bid due to the truthfulness of the second-price auction. 427 An internal Google document


                                                                 428
                                                                       If AdX has sufficient data to form an
 accurate prediction of the maximum advertiser value v, the optimal reserve price to set is
 exactly v.




 Different Google internal documents outline different strategies AdX used to employ the data they have to best
 estimate the RPO reserve prices. Which data was used and how data was processed are not relevant to the
 conclusions I provide below.
 419
     GOOG-NE-03640022 at -
 that optimizing publisher revenue and AdX revenue are equivalent since AdX revenue corresponds to 20% of the
 publisher revenue.
 420
     See, e.g., GOOG-NE-06151351 at -                                                                 -pm] Re: [drx-

 new systems to dynamically set auction reserve prices
 421
     GOOG-NE-09485306 at -
 422
     See
 Accessed on May 31, 2024.
 https://web.archive.org/web/20200929015943/https:/blog.google/products/admanager/smarter-optimizations-to-
 suppor/
 423
     GOOG-NE-06842715 at -                                                             -
 424
     GOOG-AT-MDL-000987708 at -
 price auction and launched unified pricing rules in September 2019, we had to turn off 2P RPO since it was designed
 425
       GOOG-NE-13204729 at -
 426


 and in these cases Reserve Price Optimization instead aims to set the optimal reserve given the information it has.
 427
     GOOG-NE-13204729 at -
 explains how Google thought about estimating the highest bid.)
 428
     GOOG-NE-03640022 at -

                                                          152
